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 4

 5   Attorney for Defendant SHARIKA GAINES
 6

 7

 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF                        No. 1:16-CR-0069 LJO-SKO
     AMERICA,
12                                         STIPULATION & ORDER FOR
                     Plaintiff,            CONTEMPORANEOUS PLEA &
13                                         SENTENCE, TO CONTINUE TRIAL
           v.                              DATE, FOR PRE-PLEA REPORT, and
14                                         A VIDEO OR TELEPHONIC
     SHARIKA GAINES,                       PROBATION INTERVIEW
15
                     Defendant.
16

17

18

19         THE PARTIES HEREBY STIPULATE, through their respective attorneys of
20
     record, Assistant United States Attorney Christopher Baker, counsel for the
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22
     government, and Galatea R. DeLapp, counsel for defendant SHARIKA GAINES,

23   that the defendant in this action be afforded the opportunity to enter a plea and be
24
     sentenced at the same date and time. The parties agree to and request a
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26
     contemporaneous plea and sentencing date of Monday, September 24, 2018. The

27   parties agree to and request Probation be ordered to prepare a pre-plea report in
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                                               1
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 1   order to afford the court with appropriate terms and conditions at sentencing. The
 2
     parties agree to and request an order for video or telephonic probation interview
 3

 4   with the defendant. Additionally, the parties agree that this action’s Wednesday,

 5   July 11, 2018 trial date be continued to a date to be determined at a status
 6
     conference on Monday, October 22, 2018. The parties likewise ask the court to
 7

 8   endorse this stipulation by way of formal order. The parties base this stipulation on
 9   good cause as outlined below.
10
           The parties come to an agreement whereby the government will recommend
11

12   probation for SHARIKA GAINES in exchange for her plea to the single count to
13   which she is charged.
14
           Two and a half years ago, at the recommendation of Pretrial Services,
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16   SHARIKA GAINES was released on a personal appearance bond and relocated to
17   another state for her own safety.   After the arrest of codefendant JAMES YORK,
18
     SHARIKA GAINES was given custody of her and defendant JAMES YORKS’
19

20   then two-year-old daughter who was also relocated to another state to live with her
21
     mother. SHARIKA GAINES location has remained and continues to remain
22
     undisclosed to all codefendant parties.
23

24         SHARIKA GAINES has been employed and supporting both herself and her
25
     daughter without outside financial assistance. Her employer company has been very
26
     impressed with her performance. They are establishing an extended operation in a
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28   state other than California and the state where SHARIKA GAINES currently
                                               2
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 1   resides. Her employer is interested in promoting her in the next six months and
 2
     moving her and her daughter to another state in order to work at their expansion
 3

 4   location.

 5         As a single mother who is the sole support of her now four-year-old
 6
     daughter, and without a significant family base, SHARIKA GAINES currently does
 7

 8   not have adequate funds or credit available to pay for transportation to and from the
 9   plea, probation interview, and sentence. She also does not have adequate funds or
10
     other human resources available to arrange for multiple days of overnight child care
11

12   for multiple trips to California. In addition, taking multiple days away from her
13   employer would threaten her employment status and put at risk her chances of
14
     advancement.
15

16         In the interest of judicial economy and to accommodate the unique situation
17   of SHARIKA GAINES and her daughter, both parties are agreeable to having the
18
     plea and sentencing take place at the same appearance. Counsel for SHARIKA
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20   GAINES has been in close contact with UNITED STATES PROBATION on these
21
     issues. In order to have terms and conditions for the court to impose at a
22
     sentencing hearing contemporaneous with a plea, UNITED STATES PROBATION
23

24   has requested five weeks and a court order allowing them to prepare a pre-plea
25
     report and to conduct the interview via video or telephonic conferencing.
26
           For the above stated reasons, the stipulated continuance will conserve time
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28   and resources both for the parties and the court, and any delay resulting from the
                                               3
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 1   continuance shall be excluded in the interest of justice pursuant to 18
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     U.S.C.§§ 3161(h)(7)(A) and (h)(7)(B)(i) .
 3

 4         IT IS SO STIPULATED.

 5

 6

 7
                                              Respectfully submitted,

 8
           DATE: June 19, 2018                  /s/ Galatea DeLapp
 9
                                               Galatea DeLapp
10                                             Attorney for Defendant
                                               SHARIKA GAINES
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12
                                               McGREGOR W. SCOTT
13                                             United States Attorney
14
                                      By:        /s/ Christopher Baker
15
                                                 Christopher Baker
16                                               Assistant U.S. Attorney
17
                                            ORDER
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19   1) A Change of Plea Hearing as to defendant Sharika Gaines is hereby set for
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        Monday, September 24, 2018.
21

22   2) UNITED STATES PROBATION is hereby authorized and ordered to prepare a

23      pre-plea report as to defendant SHARIKA GAINES in case 1:16-CR-0069 LJO-
24
        SKO and to conduct the probation interview with SHARIKA GAINES via
25

26      video or telephonic conferencing.
27   3) The current trial date of July 11, 2018 as to Sharika Gaines is hereby continued
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                                               4
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 1      to a date to be determined at a Status Conference on Monday, October 22,
 2
        2018.
 3

 4   4) Any delay resulting from the trial continuance shall be excluded in the interest

 5      of justice pursuant to 18 U.S.C.§§ 3161(h)(7)(A) and (h)(7)(B)(i) .
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 8
     IT IS SO ORDERED.
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        Dated:   June 20, 2018                     /s/ Lawrence J. O’Neill _____
10                                         UNITED STATES CHIEF DISTRICT JUDGE
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